                       UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT



UNITED STATES OF AMERICA                   :     CRIMINAL NO. 3:15CR155 (RNC)
                                           :
v.                                         :
                                           :
ROSS SHAPIRO,                              :     January 8, 2016
MICHAEL GRAMINS and                        :
TYLER PETERS                               :



 GOVERNMENT’S SUPPLEMENTAL RESPONSE TO THE DEFENDANTS’
           MOTION TO MODIFY BAIL CONDITIONS

      The government respectfully submits this memorandum in response to the

Court’s request for supplemental argument regarding an exception to the bail

condition’s no contact list that allows the defendants to contact potential witnesses,

without counsel’s presence, for purposes of asking the potential witnesses to speak

to the defendants’ counsel. Similar no contact provisions have been upheld in other

cases and such a provision is particularly appropriate in this case given the

defendants’ history with the victims and witnesses. In addition, the defendants’

stated concerns are moot.

 I.   Background

      As the Court is aware, on September 10, 2015, the defendants pled not guilty

before Magistrate Judge Martinez.      The defendants were released on bail with

certain conditions, including, pursuant to 18 U.S.C. § 3142(c)(1)(B)(v), that they

“avoid all contact, directly or indirectly, with any person who is or may be a victim

or witness in the investigation or prosecution, including Gov’t List.” See Orders
Setting Conditions of Release [Doc. # 34, 38 and 42]. The Government provided the

defendants a no contact list consisting of thirty-six natural persons and sixty-four

victim-institutions.

      On December 12, 2015, the defendants made a motion requesting a

modification to the bail conditions. See [doc. # 85]. Specifically, defendants asked

the Court to limit the no contact list to only natural persons who the government

believes may testify at trial. The government opposed this motion. See [doc. # 90].

On January 5, Magistrate Judge Martinez held a hearing to address this motion.

The Court heard both the defendants’ and government’s arguments, and then

requested that the parties work together to find language that would satisfy both

parties’ concerns. After some negotiation outside the presence of the Court, the

parties settled on the following language:

      The defendants shall not have contact, other than through counsel,
      with anyone from the listed institutions that are known by them to: (1)
      currently have or previously had involvement in RMBS and CMBS
      trading or sales, including such employees' known managers and
      supervisors; or (2) be employed in a legal or compliance function.

      Notwithstanding the above, the parties remain free to negotiate
      exceptions to the above-listed individuals on a case by case basis.

      That same day, the parties returned to the Court and asked Magistrate

Judge Martinez to adopt this modified no contact language. The defendants then

requested that Magistrate Judge Martinez further modify this language to allow the

defendants to directly contact potential witnesses, outside of the presence of their

counsel, to ask potential witnesses if they would speak with defendants’ counsel.


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The government objected to this further modification arguing that it violates the

purpose of the no contact list, which the government believes is the least restrictive

means to ensuring the veracity of the trial proceedings. Magistrate Judge Martinez

asked the parties to brief the issue.

    II.   Argument

            a. The no contact list is a condition authorized by the Bail
               Reform Act of 1984

          Under the Bail Reform Act of 1984 the Court may require that an indicted

defendant, as a condition of his release, “avoid all contact with an alleged victim of

the crime and with a potential witness who may testify concerning the offense.” 18

U.S.C. § 3142(c)(1)(B)(v). In fact, the Court must impose such a condition if it is the

least restrictive condition necessary to “reasonably assure . . . the safety . . . of the

community.” 18 U.S.C. § 3142(c)(1)(B). Furthermore, the safety of the community

does not just mean physical safety; it also includes the public’s right to criminal

proceedings free of interference with witnesses. Bail restrictions are appropriate to

restrain “a person from attempts to undermine the integrity of the pending trial.”

United States v. Gotti, 794 F.2d 773, 779 (2d Cir. 1986).          In Gotti, the Court

detained the defendant to prevent witness tampering. Here, the Government seeks

the much lesser condition of having the defendants contact victims and witnesses

through counsel, a restriction that the law authorizes the Court to impose. United

States v. Vasilakos, 508 F.3d 401, 411 (6th Cir. 2007) (“The Bail Reform Act

empowers trial courts to restrict a defendant's contact with potential witnesses if


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the condition is the ‘least restrictive’ avenue for avoiding witness tampering. The

no-contact provision is far less restrictive than pretrial detention. In all events, the

defendants have not shown any harm stemming from their inability to contact

government witnesses personally.”).

          b. The modified no contact list, without further exceptions, is an
             appropriate pre-trial restraint in this case

      Section 3142(c)(1)(B) of the Bail Reform Act is the language on which the

Court relied on when it entered the original no contact bail condition.         Such a

condition is necessary to assure the integrity of the court proceedings.           The

Government submits that the defendants have a well-established track record of

lying and manipulating the very people they now seek to contact directly to advance

their own interests. They lied repeatedly to customers, continually deceiving them

and when confronted with the truth, they continued to lie and place blame on

others.   They convinced their customers that they could be trusted, while they

bilked them for millions of dollars. They directed their subordinates to lie on their

behalf and critiqued their execution of the lies. After a fellow trader, Jesse Litvak,

was indicted on virtually identical charges, the defendants continued lying to

customers to increase their profits. It is therefore not unreasonable to determine

that the defendants may also act improperly when it is their liberty at stake. In

addition, the defendants have not argued that a no contact list is per se

unreasonable and entirely inappropriate in this case.        In their original motion

seeking modification of the bail conditions, the defendants state that they “do not


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seek to go that far,” Defs’ Mot. at 7, and ask only that the Court limit the no contact

condition to natural persons that the government believes may testify at trial.

      To alleviate the defendants concerns and better satisfy the directive of the

Bail Reform Act, the parties have agreed to a modification of the language of the no

contact condition that more aptly delineates the potential witnesses in this case.

The requested exception by defendants—that they be allowed to contact potential

witnesses, without counsel present, to ask these witnesses to speak with

defendants’ counsel—would obviate the intended purpose of the no contact

condition. Simply, it does not make sense to allow the defendants to contact these

witnesses directly. For it is at these moments, during these private conversations,

that the integrity of the process is most vulnerable to tampering.

      This is especially true with respect to the defendants, who in the past have

had no issue with lying to and manipulating these very witnesses in order to make

more money.     Potential witnesses in this case include young traders that were

supervised and mentored by the defendants. These traders trusted the defendants,

yet the defendants used these traders to illegally generate profits that the RMBS

desk was not entitled to.      In fact, the defendants often mandated the lying,

declaring such conduct as expected and necessary to be successful under their

supervision.

      Other witnesses are investment managers that also trusted the defendants

and relied on them to provide truthful market information. Yet the defendants had

no issue with abusing this trust as well. For example, one investment manager,

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Z.H., told Mr. Shapiro that his colleague believed that Mr. Shapiro may have lied to

Z.H. but that Z.H. told his colleague “that the chance of that was 0.0%.”

NSI00013944. Mr. Shapiro responded that lying was “not my style” and “not the

way I roll.” Id. But Mr. Shapiro and the other defendants did lie to Z.H., and did so

on multiple occasions.

              After Jesse Litvak was indicted on similar charges, the defendants discussed

the case with other members of the desk. However, their practice of manipulating

their victims was so useful to their profits, they continued to engage in it. The two

trades referenced in overt acts “u,” “v,” “w,” “x,” and “y” both pertain to fraudulent

trades the defendants engaged in after the Litvak indictment. Mr. Gramins even

spoke by phone with Salesperson 1 (Michael Romanelli, on the no contact list) about

how to keep a representative from Victim 1 (QVT on the no contact list) from

getting “suspicious” about their deceit.

              The defendants have shown a consistent, years-long practice of lying to and

manipulating the very people they now seek to contact directly, outside the presence

of counsel.                   These individuals include long-time business associates, individuals

who had previously professed their trust in the defendants and former subordinates

whom the defendants mentored in their illegal scheme.                                  This contact poses a

significant threat to the integrity of the trial process, while contact in the presence

of their counsel poses a negligible, almost non-existent burden to the defendants.1

This is a particularized condition appropriate to the defendants’ circumstances.
                                                            
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  To be clear, the government considers virtual presence, such as through a conference call line, to be
unobjectionable and satisfactory to protecting the trial process for facilitating this contact.  
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Allowing the defendants’ requested exception obliterates the restriction itself.

Accordingly, the government respectfully requests that the Court deny the

exception.

         c. The defendants’ defense will not be harmed by this condition

      It is not entirely clear to the Government why the defendants cannot contact

potential witnesses with or through their counsel. Certainly if it is too inconvenient

or impractical to make calls together, counsel can make calls on their own. There is

no harm to the defense if the defendants do not initiate contact on their own. See

Vasilakos, 508 F.3d at 410 (“[T]he defendants have not shown any harm stemming

from their inability to contact government witnesses personally.”).

      As for the Government’s suggestion that defendants make calls with their

counsel on the telephone line, defendants’ counsel stated that such phone calls

would be awkward and not the way conversations worked in the “real world.” But

even without counsel on the phone line the conversation would certainly be

awkward: (1) the defendants could not say anything other than asking them to call

their lawyer; (2) defendants are calling witnesses that now know they have been

lied to by the defendants; or (3) defendants are calling former subordinates that

have provided the Government with information that led to the defendants’

indictment.    Regardless of whether counsel is on the telephone line, any

conversation will not be “normal.”

      Counsel also stated that if defendants called potential witnesses with their

counsel on the line, it would put the potential witnesses “on the spot.” Having the

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defendants make calls on their own would not put the potential witnesses any less

on the spot.

                      d. The defendants’ arguments are moot

              Moreover, the defendants’ arguments are essentially moot; the majority, if

not all, of the victims and witnesses have attorneys and should be contacted

through their counsel. The witnesses who have spoken to the government—which

have been all disclosed in memoranda of interview the Government gave to the

defendants—all have attorneys. It is the Government’s understanding that these

individuals would prefer to be contacted through their attorneys and the defendants

should contact them through their counsel accordingly.                 The remaining natural

individuals, other than special agents, are all current or former Nomura employees

and communications with them can be facilitated through Nomura’s counsel.

Similarly, the institutions that have been contacted by the Government and

arranged for their employees to be interviewed—which, again, have all been

disclosed to the defendants—have all expressed a preference to the Government for

being contacted through counsel. These parties, too, should be contacted through

their attorneys. The defendants simply do not need to contact the victims and

witnesses directly.2




                                                            
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  The Defendants cite United States v. Lillemoe, No. 15-CR-25 (JCH) (D. Conn. May 28, 2015), Dkt.
47 (Merriam, J.) in support of their motion. However, Lillemoe is off point. In Lillemoe, Judge
Merriam maintained the prohibition preventing the defendants from contacting victims and
witnesses directly. She simply allowed two of the three co-defendants to have direct contact with
each other.  
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III.   Conclusion

       For the reasons set forth above, the Government respectfully submits that

the no contact condition as modified and agreed upon by the parties should be

adopted by the Court and that the defendants’ further request for an exception with

regard to defendants directly contacting potential witnesses outside the presence of

counsel for the purpose of asking these witnesses to talk with defendants’ lawyers

should be denied.



                                      Respectfully submitted,

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                           CERTIFICATE OF SERVICE

       I hereby certify that on January 8, 2016, a copy of the foregoing was filed
electronically. Notice of this filing will be sent by e-mail to all parties by operation
of the Court’s electronic filing system. Parties may access this filing through the
Court’s system.




                                 __/s/_____________________________________
                                 HEATHER CHERRY
                                 ASSISTANT UNITED STATES ATTORNEY




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